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|N THE UN|TED STATES D|STR|CT COURT
FOR THE M|DDLE D|STR|CT OF PENNSYLVAN|A

COMMONWEALTH OF
PENNSYLVAN|A,

P|aintiff, :

v. : 3:17-CV-1814
(JUDGE MAR|AN|)

NAV|ENT CORPORAT|ON, et al.,

Defendants.

oRDER

AND NOW, TH|S 4 AY OF SEPTEMBER, 2018, upon receipt of P|aintist
letter advising the Court of a discovery dispute, (Doc. 35), and Defendants’ letter in

response, (Doc. 36), lT lS HEREBY ORDERED THAT a conference call in the above-

 

captioned matter shall be held on Wednesday, October10, 2018, at 11:30 a.m. Counse|
for P|aintiff is responsible for arranging the call to (570) 207-5750 and all parties should be

ready to proceed before the undersigned is contacted

 

%bert D. Mariani
United States District Judge

 

